     Case 1:20-cv-02030-PGG-BCM Document 25 Filed 11/06/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MIGUEL DEJESUS

                  Plaintiff,                                     ORDER

          - against -                                      20 Civ. 2030 (PGG)

2078 ARTHUR LLC and JOSEPH ISAAC, as
a manager of 2078 Arthur LLC,

                   Defendants.


PAUL G. GARDEPHE, U.S.D.J.:

            The following briefing schedule will apply to Defendants’ motion to dismiss:

            •   Moving papers are due by November 27, 2020;

            •   Opposition papers are due by December 18, 2020;

            •   Any reply is due by December 28, 2020.

Dated: New York, New York
       November 6, 2020

                                         SO ORDERED.


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                                         Paul G. Gardephe
                                         United States District Judge
